    Case 3:19-md-02885-MCR-HTC Document 3974 Filed 12/28/23 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                             Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to                          Judge M. Casey Rodgers
 All Cases                                         Magistrate Judge Hope T. Cannon


                  CASE MANAGEMENT ORDER NO. 80
            (Amendment to CMO 57 for Opt-Out Litigating Plaintiffs)

       As the registration process for MSA I Eligible Claimants has progressed, a

number of Claimants have inadvertently submitted Registration Forms electing to

opt out of the settlement and continue litigating against the defendants when they

actually intended to elect to participate in the settlement program. Those errors have

been subsequently corrected with the assistance of Primary Counsel and the

Settlement Administrator; however, in the interim, complications arise because the

Claimants become subject to the deadlines set forth in Case Management Order No.

57 (Ongoing Litigation Against Defendants), ECF No. 3811, from the date of the

election not to settle.1 The consequence for failure to “strictly comply” with CMO

57 deadlines is dismissal with prejudice of a Claimant’s case. See id. at 32.

       1
          CMO 57 requires, among other things: (1) transition to the active docket (for cases
originally filed on the administrative docket) within 14 days of the election not to settle; (2)
preservation notices and production of documents/information within 30 days of the election; (3)
service of a Rule 26(a)(2) expert report addressing specified issues and accompanied by medical
records within 60 days of the election; (4) an in-person status conference before the Court in
    Case 3:19-md-02885-MCR-HTC Document 3974 Filed 12/28/23 Page 2 of 3
                                                                                      Page 2 of 3


       This Order sets a deadline for correcting erroneous opt-out elections for

purposes of CMO 57, and amends the corresponding CMO 57 deadlines for MSA I

Eligible Claimants who ultimately maintain their election not to participate in the

settlement program, as follows:

       1.     Claimants who initially submitted a Registration Form electing not to

participate in the settlement program but who wish to change that election and

instead participate in the settlement must notify the Settlement Administrator and

make the change to their Registration Form by January 15, 2024. The deadlines set

forth in CMO 57 are suspended through January 15, 2024 to facilitate the process of

correcting erroneous opt-out elections.

       2.     Claimants who initially elected not to participate in the settlement and

who do not change that election through the Settlement Administrator by January

15, 2024 become subject to the requirements of CMO 57 as of that date. The

deadlines for those Claimants’ compliance with CMO 57 are modified as follows:

              a.      Cases originally filed on the administrative docket must be

transitioned to the active docket pursuant to the procedures set forth in CMO 57,

ECF No. 3811 at 11-13, by January 22, 2024.




Pensacola, Florida within 60 days of the election; and (5) mediation within 90 days of fulfilling
the production and expert requirements. See ECF No. 3811.
   Case 3:19-md-02885-MCR-HTC Document 3974 Filed 12/28/23 Page 3 of 3
                                                                          Page 3 of 3


            b.     All other deadlines in CMO 57 (e.g., production, preservation,

status conference, mediation) are amended to run from January 22, 2024.

      3.    In all other respects, CMO 57 remains the same.

      4.    Failure to strictly comply with the amended deadlines in this Order, or

with the requirements of CMO 57, will result in dismissal with prejudice of a

Claimant’s case without further notice.

      SO ORDERED, on this 28th day of December, 2023.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
